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THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS

VICTORIA DIVISION
In re: § Chapter 11
§
TIMOTHY WAYNE LAQUAY AND § Case No. 21-60099
LINDA FISHER LAQUAY, et al.,' §
§ (Joint Administration Requested)
Debtors. §

 

DECLARATION OF RUSSELL CAIN

 

I, Russell Cain, hereby declare under penalty of perjury:

1. I am a principal of Russell Cain Real Estate (“Broker”), and a duly licensed real estate

 

broker in the state of Texas.

2. The Broker and its employees are disinterested persons within the meaning of 11
USS.C. § 101(14) and are eligible to serve as real estate agents to the estate in this case. The Broker is
not, and has never been, an advisor to or officer, director, or insider of the Debtors, and neither
represents nor holds any interest adverse to the estate or its creditors. Apart from arm’s length
connections to parties that do business with the public at large, the Broker has no connections to the
Debtors, the creditors, other patties in interest, their attorneys or accountants, or any person in U.S.
Trustee’s office.

3, I negotiated at arm’s length and agree to a commission of 6% on the gross sale of the

property.

 

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
or social security number are: T.W. LaQuay Marine, LLC, (7150) Case No. 21-60101; and Timothy Wayne LaQuay (2483)
and Linda Fisher LaQuay (3080) Case No. 21-60099.
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4. I will advise the Court if any conflict arises in the future.

Signed this__ day of December, 2021 pl. Gp ~

| Russell Cain
